                   Case: 1:19-cv-01686 Document #: 9 Filed: 03/20/19 Page 1 of 2 PageID #:67

AO 440 (Rev. 05/00) Summons in a Civil Action




CHARLES F. GILBERT and SANDRA D.
GILBERT
                                                                 CASE NUMBER:       1:19-cv-01686
                                V.                               ASSlGNED JUDGE:
                                                                                    Hon. John Robert Blakey
 13MO HARRIS. N.A.: NATIONSTAR MORTGAGE LLC. D/8/A MR. COOPER:
 AMERICAN 110:--.'DA FINANCE CORPORATION: FORD MOTOR CREDIT
 COMPANY LLC. D/B/A LINCOLN AUTOMOTIVE FINANCIAL SERVICES:       DESlGNATED
 TAMMAC HOLDINGS CORPORATION. D/BIA TAMMAC FINANCIAL: WELLS
 !'ARGO BANK. N.A.: TRANSUNION. LLC: and EQUIFAX INFORMATION     MAGISTRATEJUDGE:   Hon. Mary M. Rowland
 SERVICES. LLC




                    TO: (    ame and address of Defendalll)

                  FORD MOTOR CREDIT COMPANY LLC. D/8/A LINCOLN AUTOMOTIVE FINANCIAL
                  SERVICES
                  c/o REGISTERED AGENT
                  C T CORPORATION SYSTEM
                  208 SO LASALLE ST, SUITE 814
                  CHICAGO, IL 60604

          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF'S ATIORNEY                    (name and address)

                 Majdi Y. Hijazin
                 Sulaiman Law Group, Ltd.
                 2500 South Highland Avenue, Suite 200
                 Lombard, IL 60148



                                                                               21
an answer to the complaint which is herewith served upon you,        _________ days after service of this
summons upon you, exclusive of the day of service. If you fail to do so,judgrnent by default will be taken against you for
the relief demanded in the complaint. You must also file your answer with the Clerk of this Court within a reasonable
period of time after service.




         m.t�                                                    m.t�


                                                                                      arch 11, 2019
                  Case: 1:19-cv-01686 Document #: 9 Filed: 03/20/19 Page 2 of 2 PageID #:68


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1: 19-cv-01686

                                                       PROOF OF SERVICE
                       (This section should not be.filed with the court unless required by Fed. R. Civ. P. 4 (I))

           This summons for {name of individual and title, ifany)        Charles & Sandra Gilbert v Ford Motor Credit Company, LLC
 was received by me on (date)                     03/11/2019

           0 I personally served the summons on the individual at {place) 208 S. LaSalle, Suite 814, Chicago, IL 60604
                                                                                  on (date)                             ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)

          ----------------- , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           if I served the summons on (name ofindividual}             Derrick Hackett                                            , who is
            designated by law to accept service of process on behalf of (name of organization)
           Ford Motor Credit Company, LLC                                          on (date)         03/19/2019         ; or

           0 l returned the summons unexecuted because                                                                                ; or

           0 Other (specify):




           My fees are$                            for travel and $                     for services, for a total of$          0.00


           I declare under penalty of perj u.ry that this information is true.


 Date:          03/19/2019


                                                                                 Michael Costanza - Process Server
                                                                                           Printed name and title

                                                                                 R.O.S. Consulting, Inc. - 117-001339
                                                                                  23900 W. Industrial Drive, Suite 3
                                                                                         Plainfield, IL 60585
                                                                                               Server's address

 Additional information regarding attempted service, etc:
